                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA


 UNITED STATES OF AMERICA                          )
                                                   )           Case No. 1:09-CR-123-018
 v.                                                )
                                                   )           Chief Judge Curtis L. Collier
 CHRISTOPHER JAMES PIERCE                          )
                                                   )


                                             ORDER

        The Court has received a Report and Recommendation (“R&R”) from United States

 Magistrate Judge Susan K. Lee, recommending Defendant Christopher James Pierce (“Defendant”)

 be found competent to stand trial (Court File No. 468). The Court has also received a forensic report

 on Defendant’s mental health evaluation from the Federal Bureau of Prisons (Court File No. 467).

 The findings in the evaluation were that Defendant is competent to stand trial and is not currently

 suffering from a mental disease or defect rendering him incompetent to the extent he is unable to

 understand the nature and consequences of the proceedings filed against him or assist properly in

 his own defense. The findings regarding Defendant’s sanity were that he was sane at the time the

 alleged offense took place, and he did not suffer from any mental illness that interfered with his

 ability to appreciate the nature or wrongfulness of his actions. On July 23, 2010, Defendant filed

 a signed Waiver of Competency Hearing with this Court (Court File No. 455).

        Based upon this information, the Court ACCEPTS and ADOPTS Magistrate Judge Lee’s

 R&R (Court File No. 468), pursuant to 28 U.S.C. § 636(b)(1), and DETERMINES Defendant is

 competent to stand trial.

        SO ORDERED.



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       ENTER:

                                    /s/
                                    CURTIS L. COLLIER
                                    CHIEF UNITED STATES DISTRICT JUDGE




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